
Per Curiam,
There is nothing in the defendants’ assignments of error which would warrant us in reversing the judgment of the court below.
r. The declarations of Mrs. Kurtz, in the absence of the plaintiff, and not conveyed to him, were not admissible, and the offer was properly ruled out.
2. If the defendants desired the court to charge specially on the testimony of Henry Kurtz, attention should have been called to it by a point.
3. We have carefully gone over all the testimony which is to be found in the paper-book, and discover nothing by which a dispute could be raised as to the time the plaintiff worked on the defendants’ farm.
4. This assignment is not according to rule; hence we decline its consideration. '
Judgment affirmed.
